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 5
 6                          UNITED STATES DISTRICT COURT

 7                                DISTRICT OF NEVADA
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                                           * * *
 9 UNITED STATES OF AMERICA,                  )
                                              )
10                   Plaintiff,               )
11                                            )         2:10-cr-547-RLH-GWF-12
     v.                                       )
12                                            )                 O R D E R
                                              )
13 ANTHONY DIAZ,                              )
                                              )
14                                            )
                     Defendant.               )
15                                            )
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17
             On August 24, 2011, this matter came before the Court for
18
     hearing on the Government's petition for action on the defendant's
19
     conditions of pretrial release (#278).            The defendant was present
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     with counsel. The Defendant did not contest the allegations as set
21
     forth     in   the   petition   and    consented      to   detention     pending
22
     sentencing. The Court has considered the information and evidence
23
24 offered by the Government and by the Defendant and finds as
25 follows:
26           The defendant stands convicted. Therefore, the burden is on
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 1 him to establish that conditions or combination of conditions can
 2 be fashioned by which he is likely to abide. He has not met this
 3 burden. Further, the defendant has consented to detention.
 4
          IT   IS   THEREFORE   ORDERED    pursuant    to   the     provisions   of
 5
     18 U.S.C. § 3148 that the release order heretofore entered on
 6
     November 11, 2010 (#109) is hereby revoked.
 7
          IT IS FURTHER ORDERED that the defendant shall be detained
 8
     pending sentencing.
 9
          DATED this 24th day of August, 2011.
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13                                    ROGER L. HUNT
                                      UNITED STATES DISTRICT JUDGE
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